




NO. 07-03-0141-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



NOVEMBER 3, 2004



______________________________





MINERAL EXCHANGE, LTD., APPELLANT



V.



TEXACO INC., ET AL, APPELLEES





_________________________________



FROM THE 223
RD
 DISTRICT COURT OF GRAY COUNTY;



NO. 32160; HONORABLE LELAND W. WATERS, JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION

Pending before this Court is an agreed motion filed by appellants/conditional appellees Mineral Exchange, Ltd. and Kaari Oil Company and appellee/conditional appellant Texaco Exploration and Production, Inc. by which they request this appeal be dismissed with prejudice and that each party bear its own costs and fees. &nbsp;Without passing on the merits of the appeal, the motion is granted. &nbsp;Having dismissed the appeal at the &nbsp;request of all parties, &nbsp;no motion for rehearing will be entertained and our mandate will issue forthwith.

Accordingly, the appeal is dismissed with prejudice. &nbsp;
See
 Tex. R. App. P. 42.1(a)(2)(A).

Don H. Reavis

 &nbsp;&nbsp;&nbsp;&nbsp;Justice






